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DJW/byk


                        IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF KANSAS


SHIRLEY WILLIAMS, et al.,

                                          Plaintiffs,
                                                                     CIVIL ACTION
v.
                                                                   No. 03-2200-JWL-DJW
SPRINT/UNITED MANAGEMENT
COMPANY,
                       Defendant.


                               MEMORANDUM AND ORDER

          On February 6, 2006, the Court conducted two telephone status conferences in this case

regarding the upcoming deposition of Defendant’s employee, John St. Angelo. Plaintiffs appeared

through counsel, Martin M. Meyers and John M. Klamann. Defendant appeared through counsel,

Phillip Dupont. This order memorializes and supplements the Court’s rulings at the conferences.

          The present dispute before the Court is Defendant’s refusal to produce Mr. St. Angelo for

deposition as previously agreed by the parties. Defendant objects to producing Mr. St. Angelo on

the grounds that Plaintiffs have previously deposed him as a Rule 30(b)(6) witness. Defendant argues

that Plaintiffs must obtain leave of court to depose Mr. St. Angelo a second time. In response,

Plaintiffs assert that they need not seek leave to depose Mr. St. Angelo because the prior Rule

30(b)(6) deposition notice was directed to Defendant, as a corporate entity, and Defendant

designated the individuals who would testify on its behalf. Plaintiffs state they seek to depose Mr. St.

Angelo individually to inquire about documents that contain his name that had not been produced by
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 Defendant at the time of his earlier Rule 30(b)(6) deposition. They request that the Court compel

 Defendant to produce him for deposition as previously agreed by the parties.

            As stated by the Court during the first conference call, a Rule 30(b)(6) deposition is not the

 deposition of a person but rather of an entity. 1 Because Plaintiffs seek to depose Mr. St. Angelo in

 his individual capacity and he was previously deposed in his capacity as Rule 30(b)(6) representative

 of Defendant corporation, the Court finds that the requirement that a party must obtain leave of court

 when the person to be examined has already been deposed, contained within Rule 30(a)(2)(B),2 does

 not apply to Mr. St. Angelo. This does not mean, however, that Plaintiffs can ask Mr. St. Angelo

 questions that they previously asked during his Rule 30(b)(6) deposition in that such questions would

 be unreasonably duplicative and thus subject to the limitation of Rule 26(b)(2).

            As stated by the Court during the second conference call, if the deposition of Mr. St. Angelo

 was set by agreement of the parties rather than by notice, then the Court has no authority to enforce

 the parties’ agreement and therefore cannot compel Mr. St. Angelo to attend the deposition set by



        1
          See Sabre v.. First Dominion Capital, LLC, 01 Civ. 2145(BSJ)(HBP), 2001 WL 1590544, at
*1 (S.D.N.Y. Dec. 12, 2001), citing 8A Charles A. Wright, Arthur R. Miller, Richard L. Marcus, Federal
Practice & Procedure § 2103 (2d ed. 1994) (A deposition pursuant to Rule 30(b)(6) is substantially
different from the deposition of a witness as an individual. A 30(b)(6) witness testifies as a representative of
the entity, his answers bind the entity and he is responsible for providing all the relevant information known
or reasonably available to the entity); U.S. v. Taylor, 166 F.R.D. 356, 361 (M.D.N.C. 1996) (The
testimony elicited at a Rule 30(b)(6) deposition represents the knowledge of the corporation and not of the
individual deponents. The designated witness is “speaking for the corporation,” and this testimony must be
distinguished from that of a “mere corporate employee” whose deposition is not considered that of the
corporation and whose presence must be obtained by subpoena.).
        2
         Fed. R. Civ. P. 30(a)(2)(B) provides that “[a] party must obtain leave of court, which shall be
granted to the extent consistent with the principles stated in Rule 26(b)(2), . . . if, without the stipulation of
the parties, the person to be deposed already has been deposed in the case.”

                                                      2
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agreement. Under the circumstances presented to the Court, it appears that Plaintiffs would be

permitted to notice this individual for his deposition within the appropriate time frame under the Rules.

If Plaintiffs seek to depose Mr. St. Angelo either by future agreement or by deposition notice, they

shall provide him with the specific documents they intend to inquire about sufficiently in advance of

his deposition so that he may determine whether he has already been questioned about those

documents. Counsel are again reminded that cooperation in these matters would better advance the

purpose of the Rules “to secure the just, speedy, and inexpensive determination of every action.”3

           IT IS THEREFORE ORDERED that Plaintiffs’ request to compel Defendant to produce

Mr. St. Angelo for deposition in accordance with the parties’ previous agreement is denied.

           IT IS SO ORDERED.

           Dated in Kansas City, Kansas on this 8th day of February, 2006.




                                                           s/ David J. Waxse
                                                           David J. Waxse
                                                           United States Magistrate Judge


cc:        All counsel




       3
        Fed. R. Civ. P. 1.

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